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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA )
)
V. )
) Criminal No. 21-0598 (PLF)
JASON GERDING )
and )
CHRISTINA GERDING, )
)
Defendants. )
)
ORDER

Sentencing in this matter is currently scheduled for May 16, 2023, at 2:00 p.m. via
video teleconference. The Court had previously authorized video teleconference proceedings in
this case pursuant to Section 15002(b) of the Coronavirus Aid, Relief, and Economic Security
Act (“CARES Act”), Pub. L. 116-136, 134 Stat. 281. The Court’s authority to permit video
teleconference proceedings under the CARES Act, however, expired on May 8, 2023. See
Standing Order No. 23-26. Accordingly, before this sentencing can proceed via video
teleconference, Defendant Jason Gerding and Defendant Christina Gerding must provide their
written consent, and the Court must provide its permission. See FED. R. CRIM. P. 43(b)(2); FED.
R. CRIM. P. 43 advisory committee’s note to 2011 amendment (“Participation by video
teleconference is permitted only when the defendant has consented in writing and received the
court’s permission.”). It is hereby

ORDERED that, should Defendant Jason Gerding and Defendant Christina
Gerding wish for sentencing to proceed by way of video teleconference, they shall, through

counsel, submit a request to the Court providing their written consent; and it is
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FURTHER ORDERED that Mr. Gerding and Ms. Gerding shall provide their
consent, should they choose to do so, on or before May 15, 2023.

SO ORDERED.

Cet Lfintn —

PAUL L. FRIEDMAN
United States District Judge

DATE: x |8 lve
